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Humble Beginnings                                their 20s, they started at the bottom, ready to
                                                 work hard raising kids and providing a loving,
                                                                                                   leaving Ella in the care of Art’s mom or
                                                                                                   a babysitter five days a week.
If you were to join one of Kimberly              stable home for them. They spent a year living       When Kimberly went back to work just
McCauley’s working video calls today, it         in the converted garage of Kimberly’s father’s    six weeks after Maxine was born, everything
would look like leading a team of hundreds       home. And when they brought their first           that the McCauley’s wanted seemed to be
of businesses comes easy to her. While           daughter, Ella, home from the hospital, they      in reach. They had purchased their first
she has a well-established routine today, it     put her crib in their empty closet, which Art     home. They drove nice cars. They were
wasn’t always that way. In fact, if you look     had painted pink.                                 both successful at their jobs. But like many
into her past far enough, Kimberly never            Then Art got an offer for his dream job, and   American families, this comfortable life
dreamed she would be doing something like        they moved their small family to Sacramento       had been built upon the sandy foundation
building a Melaleuca business at all.            when Kimberly was pregnant with their             of mortgages, student loans, car payments,
    Kimberly’s road to Melaleuca started in      second daughter, Maxine. While Art worked         and credit cards. And all it took was one
her home town of Napa, California, where         long hours at the hospital, Kimberly accepted     unexpected challenge for their life to
she was working as a dialysis technician at      a traveling medical device sales position,        crumble around them.
a local clinic. Wanting to expand her skills
in the medical world, Kimberly applied for
a newly opened biomedical position at the
clinic. She was devastated when the position
was given to a brand-new hire—a recently-
graduated biomedical engineer. His name             “Kimberly is such a life changer! She’s a total inspiration and just so
was Art McCauley.                                    awesome. She helps us so much by giving us the tools to help ourselves
    And while Kimberly wasn’t wild about him
                                                     become better people. But the biggest thing is that you can tell she
taking the position she wanted, Art quickly
became close to her heart. Before they knew          really cares about helping other people to achieve what they can—
it, Kimberly and Art were committed to each          you just have to work hard, just as she shows us every day.”
other and to building their own version of the
American Dream. And like most couples in                                                                        —Director 3 Liz Favela




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Family Is Most                                  always covered by insurance—things just
                                                really snowballed and got out of control.”
                                                                                                 showing up Monday morning when they
                                                                                                 would put her under anesthesia and wrap
Important                                          Kimberly was forced to leave her job to
                                                care for Maxine and Ella while Art continued
                                                                                                 her up for the next two months.”
                                                                                                    Because spending time without Maxine’s
A discovery at a typical family barbecue        to work at the hospital. As they drove           cast was so important to the McCauleys, Art
changed the trajectory of the McCauley’s        between Sacramento and Salt Lake City            quickly used up his paid time off so they could
lives forever. While one-year-old Maxine        for Ella’s treatments, the McCauleys were        all travel as a family. When that ran out, he
enjoyed a carefree evening running around       focused on finding ways to spend as much         took the days off unpaid, further exacerbating
in just her diaper, they noticed there          time as possible with a cast-free Maxine.        their desperate financial circumstances.
was something terribly wrong with her              “Those drives always consisted of worrying    Desperate to make an income while staying
backbone. The next day she was diagnosed        about the unknown,” Art remembers. “And          home with Maxine, Kimberly sought home-
with progressive infantile idiopathic           always the night before her new cast was put     based work. Just a couple months after
scoliosis—a rare, life-threatening spinal       on, we’d take the time to snuggle with her.      starting with an MLM, her efforts resulted
condition that had already progressed to a      Once about every two months, bath time was a     in a $10,000 inventory of unsold product in
55-degree curve in Maxine’s spine.              big deal because we normally couldn’t do that!   her home as the company became embroiled
   The suggested treatment? Major surgery       We would really soak in those moments before     in a pyramid scheme lawsuit.
and a full body cast from Maxine’s shoulders
to her hips. By the time she had her first
cast, her curve was at nearly 90 degrees. For
the next three years, Maxine spent her life
in a cast, with only a 12-hour break every          “I admire Kimberly’s dedication to her team. No matter how busy
8–10 weeks before getting her new cast.
   “It was such a crazy, hard time for us,”          she is, she always finds the time for everyone. I don’t know how she
Kimberly says. “I look back on it and think,         finds the time between video calls, moving, babies, and her adoption—
‘Did we actually live through that? Did that         she’s just magical! She doesn’t think she is, but she is!”
really happen?’ We were barely earning
enough to make ends meet as it was. And                                                      —Senior Director 2 Stephanie Shuman
then with medical expenses—which weren’t

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Finding Melaleuca
Then Kimberly met Corporate Director 6
Erin Clark through social media. Neither were
aware of Melaleuca at the time. Six weeks
later, Erin was introduced to Melaleuca by
National Director 3 Madra Jones. Erin then
explained Consumer Direct Marketing ®
and the Melaleuca shopping club to an
unsure Kimberly. “I wasn’t a highly
networked person,” Kimberly explains.
“I was just a mom.”
   At the time, she was planning a garage sale
of her leftover MLM inventory, willing to take
pennies on the dollar and hoping to make
enough to pay the school tuition for her oldest
daughter, Ella, and have a little left over for
groceries. During her garage sale, she listened
to a virtual Melaleuca Overiew presented by
Executive Director 9 Klinton Keller. By the
end of the day she had placed her first order.
   Then Kimberly picked up the phone. “All
my friends were moms, so I just picked up the
phone and started calling other moms!”
Right away, Kimberly’s business took off.
   “I’ll never forget opening up that first
check,” Kimberly says. “We were so desperate
for additional income that our first check felt
like the equivalent of a million dollars to us.”
                                                   “Shawna is my best friend, and I remember calling her about Melaleuca and saying, ‘What I’m
   “I couldn’t believe it,” Art adds. “I
                                                   looking at, we can help a lot of people with this,” Kimberly says. “‘If we can do this right, we
remember thinking, ‘Well, we will see if they
                                                   can affect a lot of change.’ Though she said no at first, that’s what eventually got her to enroll.
pay us again next month!’ And they did!”
                                                   Because of Melaleuca, we’ve been able to change a lot of lives and help with a lot of causes
   Just two months after enrolling, Kimberly
                                                   we are passionate about—like helping children who are sick and hospitalized.”
had speedily advanced to Senior Director.
And by the time she attended February 2018
Road to Executive Director eight months            possibilities with Melaleuca was thrown            hair and her focus on building businesses
after enrolling, she had already advanced to       wide open and she could finally believe            online, she still didn’t quite fit into the
Senior Director 9.                                 that Melaleuca wouldn’t pull the rug out           Melaleuca culture. But she wanted to
                                                   from under her.                                    prove, not only to herself but to everyone,
                                                      Kimberly approached Road to Executive           that she and her team were capable of
Turning a Corner                                   Director cautiously, knowing that because          building strong businesses.
Those days at Road to Executive Director           of their unusually rapid growth there were            “I remember feeling like other builders
became a pivotal moment in Kimberly’s              some who were skeptical of her and her             were a bit skeptical of my team because of
business—a hinge point where the door to           team. She knew that between her pink               how fast we were moving and the fact that
                                                                                                      we were using social media to help build
                                                                                                      our business,” Kimberly explains. “And that
                                                                                                      made me put my fists up a little bit like
                                                                                                      I was going to need to defend my team.
     “Kimberly outworks everybody—even when pregnant, moving,                                         But then National Director 9 Brooke Paulin
                                                                                                      spoke about not taking shortcuts—and
      and going through an adoption. She never makes excuses, so she                                  I remember her talking about how consistent
      doesn’t really accept excuses from other people either. She never asks                          her residual income was and I just couldn’t
                                                                                                      believe it!
      anyone to do something that she’s not willing to do. She genuinely,
                                                                                                         “I called my best friend Executive
      truly wants to see everybody else reach their goals. That’s why she                             Director 6 Shawna Lambert during a break
      continues to do this. She doesn’t really have to work as hard as she
      does, but her life has been so dramatically changed and she wants that
      for everybody else.”
                                             —Executive Director 6 Shawna Lambert


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                                                       Kimberly’s Top Business-Building Tips
    “Kimberly looks out                                Kimberly’s best advice for building a strong business is based on one main idea: build
                                                       your business the right way. “I’m always very honest with my teammates,” Kimberly
     for the little guy. She will                      says. “I don’t accept excuses—either you’re going to get with the culture
     outwork you, challenge you,                       of Melaleuca and you’re going to understand what we’re really about, or you’re going
     inspire you, and hold you                         to get off the boat. Because there is too much to protect here and there are too many
                                                       lives to be changed.”
     accountable. She doesn’t
     sugarcoat anything. You                           Stay Consistent
     get the truth, the hard truth,                    Kimberly is the first to admit that her rapid advancement is not the normal pace
     because that’s what helps you                     of most Melaleuca businesses. She knows that many of the strongest businesses are
     succeed. I’m so excited for                       built slowly and steadily with a commitment to consistency.
                                                          “I’ve had so many business partners who show up every day—even if it was just
     Kim. She absolutely earned                        for a little bit of that day—and do it consistently over a long period of time who have
     this by changing my life and                      become successful,” Kimberly explains. “There’s no guarantee of success here, but
                                                       I do know this business is all about muscle memory.”
     the lives of my entire team.”
               —Executive Director 6                   Follow the Seven Critical Business-Building Activities
                   Amber Springer
                                                       If you join any team video call, it’s a guarantee that Kimberly will be talking about the
                                                       Seven Critical Business-Building Activities. You will find her constantly coaching her
                                                       team on making better approaches, remembering to follow up, and adding to their
and said, ‘We are going to build this business
                                                       contact lists. And because her teammates live all across the United States, she loves
right and trust in Melaleuca’s processes.’
                                                       that Melaleuca created QuickShare PRO to make presenting Melaleuca: An Overview
That’s when my business changed forever.
                                                       online so much easier. Plus, it helps ensure that every new customer experiences
I finally truly believed in businesses that
                                                       a quality presentation!
could last a lifetime.”
   As Kimberly toured Melaleuca global
headquarters and connected with the                    Set Realistic Goals
corporate employees and other Marketing                Setting and achieving goals is extremely important to Kimberly and her team.
Executives, her attitude softened. She was             That’s why they have “dream board parties” to set goals together. Kimberly has
surprised by the warmth and kindness                   accomplished everything she’s put on her dream boards since enrolling—all five
she was shown and especially loved that                of them! While she makes a point to set goals that take her out of her comfort zone,
her Regional Coach Jeff Putnam held her                she also keeps them realistic. Coming out of Virtual Convention 2020 and having
newborn baby, Johnny, so she could eat                 a newborn baby, she set a really simple goal: get back on her regular schedule!
lunch. Throughout the event, her belief
in the integrity and stability of Melaleuca
skyrocketed. She left Road to Executive
Director ready to form new habits, more fully
align her business with Melaleuca’s policies,
and consistently do the Seven Critical
Business-Building Activities.
   “At the time I enrolled, I just needed
a lifeboat,” Kimberly remembers. “I was
literally drowning in our circumstances.
I was the person going underwater, putting
a thumbs up like everything was fine when
it wasn’t. I couldn’t think past what my own
family needed—and that’s why I didn’t fully
understand or have confidence in Melaleuca
at first. But now I get it. Now I know how
amazing Melaleuca is and what you can
do with your life if you build this business
the right way.”




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                                                                                                Building a Business
                                                                                                That Lasts a Lifetime
                                                                                                Since that turning point in 2018, Kimberly has
                                                                                                worked tirelessly to develop habits that set her
                                                                                                team up for success—consistently following
                                                                                                through on the Seven Critical Business-
                                                                                                Building activities, developing leaders, and
                                                                                                converting homes to Melaleuca products. She
                                                                                                advanced to Executive Director just weeks
                                                                                                after returning home from Road to Executive
                                                                                                Director. And by her first anniversary since
                                                                                                enrolling with Melaleuca, she had advanced to
                                                                                                Executive Director 6.
                                                                                                   After the unusually rapid growth that
                                                                                                marked the first year of Kimberly’s business,
                                                                                                things started to slow down a little. But she
                                                                                                continued to inch on toward her goal of
                                                                                                advancing to National Director. Coinciding
                                                                                                with her second Melaleuca anniversary,
                                                                                                Senior Vice President of Sales Darrin Johnson
                                                                                                surprised Kimberly and Art with the news
                                                                                                that they had advanced to National Director
                                                                                                and earned a $111,755 monthly check!
                                                                                                   How has Kimberly accomplished so much
                                                                                                in the past three years? She spent several
                                                                                                months working closely with her team
                                                                                                on 5:30 a.m. video calls. She consistently
                                                                                                did the Seven Critical Business-Building
                                                                                                Activities. She participated in the 2019 and
                                                                                                2020 Corporate Fast Tracks. And ultimately,
                                                                                                she led by example—regularly presenting
                                                                                                Melaleuca: An Overview, leading Strategy
                                                                                                Sessions, and enrolling new customers.
                                                                                                   In fact, almost every month since she
                                                                                                enrolled, Kimberly has achieved Circle of
                                                                                                Influence or Expanded Circle of Influence
                                                                                                by personally enrolling new customers. In
                                                                                                just the last year, she enrolled an average of
                                                                                                13 new customers each month!
                                                                                                   Kimberly’s hard work has paid off in
                                                                                                big ways for her family. Nearly two years
                                                                                                after enrolling, Kimberly and Art love the
“During those days with her cast, Maxine couldn’t go outside and she couldn’t run in the
                                                                                                flexibility of their Melaleuca business as it
sprinklers,” Kimberly remembers. “She couldn’t play like normal. We had to get really
                                                                                                fits with their growing family’s schedule. In
creative with stuff that we could do that was inside the house. I love that today she can
                                                                                                March of 2019, they moved from California to
run and play like most other six-year-olds!”
                                                                                                Northern Idaho to provide a better home for
                                                                                                their children. And throughout the past year,
                                                                                                they’ve been working through the process of
                                                                                                adopting a 16-year old girl from Ukraine—
                                                                                                and are now adopting her best friend too!
     “Kimberly has an amazing work ethic that pushes our team to be                                When Kimberly started building her
      the very best that we can be. She believes in every person on this team.                  business, she would be with the kids all day
                                                                                                trying to get some things done. But as soon as
      She is consistently trying to motivate, encourage, and give us the tools                  Art walked in the door, she would hand the
      we need to be successful. She’s very open, honest, and truthful—never                     kids over to him and lock herself in her room
      beating around the bush. Because she’s so real and relatable, we know                     to do video calls late into the night. Now she’s
                                                                                                grateful to have Art’s support at home so she
      there are no excuses. If she can do it, we can do it!”                                    can better focus on her business.
                                                                                                   “The beginning of my business was
                                                      —Director 5 Jen Bourbonais
                                                                                                a different, crazy time for us,” Kimberly says.

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“That’s why I don’t tolerate new builders
having a lot of excuses with this business
because I was taking care of my family while          “Kimberly and Art just bought a house and remodeled it, are in the
dealing with Maxine’s health issues and
tantrums and still made it work.”
                                                       middle of an international adoption, and just had a baby. Kimberly has
   Kimberly’s recent advancement in                    her hands full! But she still manages not only to work her business but
April from National Director 5 to National             be number one and just blow past everyone. It’s incredible to watch her
Director 9 happened the same month her
fourth child was born—baby June. “This is              work. And it’s so much fun to work alongside her. She really does have
the biggest blessing that Melaleuca gives              such a big heart and she really wants everybody to win. She loves just
us,” Kimberly says. “I can have a newborn              helping others earn their first check, even if it’s just $100.”
baby who wants to stay in bed and nurse
all morning, and I can do that. I can send                                                     —Executive Director 3 Breana Borchers
messages and get info out to the team for all
the video calls we will have in a week—all
while sitting and holding my daughter. And
when I finish, I can go outside and play with
my kids before coming back in to work for
a few hours while they are down for a nap
                                                  Businesses That                                    On Wednesdays they help each other invite
                                                                                                     contacts to their virtual Wednesday night
or after they go to bed. It’s just incredible!”
   Today, Maxine is six and lives a functional
                                                  Work Together                                      Overview. Thursdays they often talk about
                                                                                                     contact lists and social media. And Fridays are
and full life with the help of a back brace she
will continue to wear into her teens. And while
                                                  Grow Together                                      usually for following up! But no matter what
                                                                                                     the planned topic is, they make sure to address
there are likely more surgeries and therapies     “I may be Marketing Executive of the year,         any questions or any issues the team brings up.
in her future, the McCauleys are no longer        but that’s just a title,” Kimberly says. “I           The result? Kimberly’s team has enrolled
worried about how to afford the treatments        didn’t get here without my team doing all          8,646 Members so far. There are 451
she needs. And it’s all because of Melaleuca.     the things that they did. My team lights up        Directors throughout their organization.
   “It’s been so long since we’ve talked          my life! They are what get my feet touching        And their team’s retention rate just
in depth about what life was like before          the floor in the mornings.”                        exceeded 96%!
Melaleuca,” Kimberly says. “And to think             Kimberly and her team are serious about            “We may be a team of misfits,” Kimberly
about living in my dad’s garage or what           getting to work every day. And they start early!   explains. “I have neon pink hair and most
happened with Maxine—I never want to              Monday through Friday, a different member of       of my organization are not who you might
forget who I was back then. If we hadn’t          the team runs a working video call—Director        expect to see succeeding at Melaleuca.
found Melaleuca, where would we be                8 Ursula LaForm at 4:00 a.m., Executive            They’re just moms—really hardworking
today? If there’s anything you should know        Director 6 Shawna Lambert or Executive             moms—and they have helped me develop
about Melaleuca, it’s that it takes work and      Director 2 Breana Borchers at 7:00 a.m.,           into a National Director 9. I run a lot of the
consistency with the tools that have been         Kimberly at 11:00 a.m., and Director 4 Sarah       working video calls and I give a lot of the
given to us to be successful. As you work         Cullison at 7:00 p.m. (all Pacific Time.)          ideas, but the reality is that at the end of the
toward your goals, you don’t have to be              Generally, each day has a specific focus.       day they do the work. If they don’t show up
scared about what the rest of your life           Mondays are all about customer service.            and do the work, none of this happens.”
is going to look like.”                           Tuesdays focus on Strategy Sessions.



                                                                           Calendar Your Activities
                                                                           What gets scheduled gets done, and no one knows that better
                                                                           than Kimberly. Here is what her typical day looks like.
                                                                           5:00 a.m.–5:30 a.m.: Wakes up
                                                                           5:30 a.m.–7:30 a.m.: Drinks a cup of Mountain Cabin® Coffee,
                                                                           looks at her MORE report, and checks on how her team is doing.
                                                                           Works on adding names to her contact list through social media.
                                                                           7:30 a.m.–10:00 a.m.: Kid time
                                                                           10:00 a.m.–11:00 a.m.: Seven Critical Business-Building Activities
                                                                           11:00 a.m.: Runs her team video call
                                                                           12:00 p.m.–7:00 p.m.: Lunch, nap time, scheduled Strategy
                                                                           Sessions with business builders, more Seven Critical Activities
                                                                           7:00 p.m.–8:00 p.m.: Joins team video call
                                                                           8:00 p.m.–11:00 p.m.: Seven Critical Activities, helping others


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How to grow your business
with your contact list.                                                                                     “Your contact list
                                                                                                   is a critical part of your
                                                                                             business. It’s the only inventory
                                                                                           you’ll ever need to have with
                                                                                        Melaleuca, and it’s what will propel
                                                                                       your business forward.” That’s how
                                                                                      National Director 7 Maria Mosca
                                                                                     began her Convention 2020 master
                                                                                    class on building relationships and
                                                                                   making approaches, a virtual workshop
                                                                                   attended by tens of thousands
                                                                                   of eager Marketing Executives.
                                                                                   Here’s an excerpt of her insightful
                                                                                   remarks—taken from her wealth of
                                                                                   wisdom as one of Melaleuca’s most
                                                                                   successful Marketing Executives.


                                                           National Director 7
                                                              Maria Mosca

                                                                                          WORK SHOP
                                                                                            FROM

                                                                                        V I R T UA L
                                                                                        CONVENTION
                                                                                         2020
The message is timeless.                    help enhance their lives. We can’t take
                                            shortcuts. No matter how we present the
                                                                                           We have many different ways to find
                                                                                           and reach out to people these days—
I’m that person who loves to interact       Melaleuca Overview, we must give our           whether it’s through social media, social
with people. I’m that person who goes       prospective customers the information          connections, or asking for referrals.
to networking events. I love building       they deserve so they can make well-            These are all great ways to boost the
my business in living rooms and getting     informed decisions based on what’s best        number of contacts you can add to your
together with people.                       for themselves and their families.             contact list. And use a memory jogger.
                                                                                           Ask, “Who can I add to my contact list
However, even if you’re building more
on the internet these days, don’t forget:   Who do you talk to?                            that I’ve met recently? Someone who
                                                                                           I didn’t think of adding before?”
the platform may change, but the            The lifeblood of your business is making
message remains the same. The message       approaches. Your business will prosper         Ask for referrals! Go to your family
is delivering wellness. We’re sharing       at the rate you make approaches each day.      and friends and ask them, “Who do you
information with others so we can           That is so critical.                           know who needs Melaleuca right now?”



                                                                                                      JULY 2020 | MELALEUCA.COM   23
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You can be the light they are desperately
looking for.
                                               Create positive energy.                                 Meaningful conversations
                                               I love to have fun and I like people                    lead to appointments.
Invite previous contacts to come take          to join in on the fun. I treat everybody                Let’s talk about setting appointments
a second look. Even if they attended a         like family. If something exciting is                   with confidence. The best thing I can
Melaleuca Overview presentation before,        happening, I want to share it with the                  suggest to you is this: ditch the pitch.
you can call them up and say, “Lorrie, I’d     world! It’s not so much about your                      People don’t want to be pitched. They
love for you to come and take a second         lifestyle. You want to show that you’re                 want to know you care—that you want
look, especially at how you can shop from      living life to the fullest but in a humble              to engage in meaningful conversation.
home and have products delivered to your       way. You’re having fun but in a way
door. Melaleuca is an essential online         that other people can interact with                     To really engage in a meaningful
shopping club, and I want to share that        you and join in.                                        conversation, ask questions. When you’re
with you. Maybe you will see something                                                                 asking questions, the person you’re
that you didn’t see the first time.”           For example, create a conversation                      talking with is going to reveal a lot of
                                               starter. In one of my posts, I wrote:                   needs that you can turn into an approach.
Plus, go back to your no list. Too often we    “When life throws you lemons, you                       Then you can say, “You know, I have
think, “I’m not going to go back to them!      make limoncello blueberry pound cake.”                  someone I recently helped who was in
They said no!” But here’s the thing: most      I had 233 likes and 72 comments on that                 the same situation you’re in. I can help
of the time, people are saying no because      post. It was such an easy contact list.                 you with that.”
they don’t know. It doesn’t hurt to go         I went through it asking, “Who don’t
back to that person.                                                                                   When they ask, “How are things going
                                                                                                       with you?” you can say something simple
My enroller was the sixth person to                                                                    like, “You know what? Things have been
contact me and invite me to take a look                     But here’s                                 great. I’m helping a lot of customers get
at Melaleuca. The sixth! The first five                  the thing: most                               their essentials to their door at wholesale
people—and they’re all great people—just              of the time, people                              prices. The company I partnered with—
never called me a second time. I was a no,           are saying no                                     we’re meeting demands, and it’s been
but it was no, not right now. And no one            because they don’t                                 so exciting to be able to help people.”
followed up with me. Follow-up is                   know. It doesn’t
very critical.                                      hurt to go back                                    I’ve seen a lot of people who are posting
                                                    to that person.                                    that their groceries have been delivered.
Attend some local networking events                                                                    I’ll private message them: “Hey, I see
as well. Meetup groups in your area                                                                    you’re getting your groceries delivered
are conducting business through web                                                                    to you. What service did you use?”
conferencing right now. You can search         I recognize?” I found someone and                       And that starts a dialogue where I can
for meetup groups right in your own            reached out to her. I wrote, “Sarah, thank              eventually say, “Okay, great to know
backyard, of course, but join some great       you so much for liking my post. Are you                 because you know what? I’ve been getting
groups online as well so you can start         finding yourself baking more these days?”               my essentials delivered to my door.”
communicating, get that conversation                                                                   Then, of course, they’ll ask, “Oh, where
going, and start building that relationship.   We started a private message
                                                                                                       are you getting your essentials from?”
                                               conversation and eventually she asked
For example, I’m not a baker but I’ve          me, “Are you able to work from home?”                   It’s about paying attention, doing it over
joined some baking groups. I’m starting        I said, “Yes, I’m actually very blessed to              and over, being consistent and diligent,
some social dialogue and meeting some          work from home. I’ve been working from                  and identifying with them. Get to know
new friends. And even if the opportunity       home for 21 years.” Of course, now she’s                how they feel and how you can best
to share Melaleuca never presents itself,      a customer.                                             help them.
you know what? It’s all good! I’m meeting
new friends. That’s important because          Remember, even though you want                          And be prepared for questions. You’ll get
you never know what could happen down          it to happen right away, you have to wait               a lot of questions, and you want to divert
the road. They might finally say to you,       for the opportunity to present itself.                  those questions into an appointment.
“I always see you so positive with such        It’s not about, “Who can I get?” It’s about,            I keep it very simple: “You know what,
great energy on social media. What             “Who can I help today, and what are                     Sarah? You’ve got a lot of great questions,
do you do?”                                    their needs?”                                           and I know I can help you. Let’s get



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